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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division

SONY MUSIC ENTERTAINMENT,et ai.

                       Plaintiffs,
                                                    Civil Action No. I:18cv0950(LO/JFA)
       V.



COX COMMUNICATIONS,INC., etal.

                       Defendants.



                                            ORDER


       This matter is before the court on John Doe's objection to defendant disclosing its

subscriber information to plaintiffs pursuant to court's May 6, 2019 order, that has been docketed
as a motion for a protective order. (Docket no. 159). No response has been filed to this motion
and the fourteen-day period for doing so has expired. Having reviewed the motion and
supporting declaration, and there being no opposition, it is hereby
       ORDERED that the motion is granted, and defendant shall not be required to disclose

John Doe's subscriber information to the plaintiffs.

       Entered this 10th day of June, 2019.

                                                                  /S/
                                                   John F. Anderson
                                                    United States MRQistrate Judge
                                                       John F. Anderson
Alexandria, Virginia                                   United States Magistrate Judge
